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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

 

Dejoun Taylor,
Civil Action No.: 8:10-cv-0|~'123-RWT
Plaintiff,

V.

Mann Bracken, L.L.P.; and
DOES l-lO, inclusivc, `

Defendant.

 

NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
DISMISSAL OF ACTION WITH PREJUDICE

PURSUANT TO RULE 411;\[

Plaintil`f, choun Taylor, by his anomey, hereby withdraws his complaint and voluntarily
dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 4l(a)(l)(A).

Dated: June 22, 2010

Respectf`ully submitted,

By /s/ Forrcst E Mavs

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